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                              IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF ALASKA

 The ESTATE OF LAUREL HUNTER, by and    )
 through her husband and Personal       )
 Representative of Estate, NEIL HUNTER; )
 NEIL HUNTER,                           )
                                        )
                         Plaintiffs,    )
                                        )
 v.                                     ) Case No. 3:18-cv-00151-SLG
 OFFICER MILLS; CAROLINE BAPI; AND      )
 JOHN DOES 1-10, EMPLOYEES AND/OR       )
 AGENTS OF THE STATE OF ALASKA,         )
 DEPARTMENT OF CORRECTIONS.             )
                                        )
                         Defendants.    )
 ______________________________________ )


                                          AMENDED COMPLAINT

         COMES NOW Plaintiff, ESTATE OF LAUREL HUNTER, by and through the Personal

Representative NEIL HUNTER, by and through counsel Phillip Paul Weidner & Associates, APC,

and hereby states, claims, pleads and alleges as its causes of action in the instant matter, as follows.

                                            NATURE OF ACTION

    1. This action seeks relief for violations of decedent Laurel Hunter’s rights under the U.S.

         Constitution and statutes, including the 4th Amendment, 5th Amendment, 8th and the 14th

         Amendments to the U.S. Constitution, 42 U.S.C. §1983, the United States of America

         Common Law, and for injuries and damages to her Estate.


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    2. The culpable acts of the Defendants directly resulted in physical and emotional and

         economic injury, loss of liberty, and injuries to Laurel Hunter, including her constitutional,

         statutory, and common law rights.

    3. This action seeks relief arising under 42 U.S.C. §1983 against the individual Defendants,

         Officer Mills, Caroline Bapi and John/Jane Does 1-10, who are employees and/or agents

         of the State of Alaska Department of Corrections. Suit is brought against them in their

         individual capacities.

                                       JURISDICTION AND VENUE

    4. Jurisdiction is invoked under 42 U.S.C. §1983.

    5. Venue is proper in this judicial district upon 28 U.S.C. §1391(b)(2) as the acts complained

         of occurred in the Third Judicial District.

                                                  PARTIES

    6. Decedent LAUREL HUNTER was arrested and taken into the custody of Anchorage

         Correctional Center on July 4, 2016. She died on or about July 6, 2016. She suffered from

         health condition(s) and required medical attention. Upon information and belief,

         Defendants, who are Anchorage Correctional Center employees and/or agents, under the

         color of state law within the meaning of 42 U.S.C. §1983, denied decedent appropriate

         medical care and medication in violation of her U.S. Constitutional rights. The failure to

         do so resulted in her death.

    7. Plaintiff ESTATE OF LAUREL HUNTER, by and through the Personal Representative

         NEIL HUNTER, is the legal Estate of the deceased, Laurel Hunter under the law of Alaska,

         and has suffered damages, and said Estate and/or said Personal Representative Neil Hunter,

         are entitled to recovery of all appropriate relief from the Defendants as to same.


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    8. OFFICER MILLS was, at all times relevant hereto, an agent and/or employee of the State

         of Alaska and/or the Alaska Department of Corrections and/or its Division of Institutions

         and/or Anchorage Correctional Center. Officer Mills’ culpable conduct was done while

         he was acting under the color of law.

    9. CAROLINE BAPI was, at all time relevant hereto, an agent and/or employee of the State

         of Alaska and/or the Alaska Department of Corrections and/or its Division of Institutions

         and/or Anchorage Correctional Center. The culpable acts of Caroline Bapi were done

         while she was acting under the color of law.

    10. JOHN/JANE DOES 1-10 were, at all times relevant hereto, agents and/or employees of the

         State of Alaska and/or the Alaska Department of Corrections and/or its Division of

         Institutions and/or Anchorage Correctional Center.    The culpable conduct of John/Jane

         Does 1-10 was done while they were acting under the color of law.

    11. Defendants Officer Mills, Caroline Bapi, and John/Jane Does 1-10 are collectively referred

         to as “Defendants.”

                                  FACTS COMMON TO ALL COUNTS

    12. On July 4, 2016, Laurel Hunter was arrested by Anchorage Police Department Officer(s)

         and taken to the Anchorage Correctional Center. She had been stopped by Anchorage

         Police for suspicion of operating a vehicle under the influence. Before she was transported

         to the Correctional Center, she was treated by medics. She was then transported to

         Anchorage Correctional Center. Further upon information and belief, Laurel Hunter

         informed Anchorage Correctional Center staff that she suffered from acute medical

         condition(s), including diabetes.




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    13. Pursuant to prison policies, upon initial admission to the Anchorage Correctional Center,

         Laurel Hunter was to have been evaluated for the purpose of determining her medical

         needs. Staff are required to inspect inmates for “obvious injuries or illnesses,” and inquire

         “about any medical problems or recent use of medication or unprescribed drugs. A person

         who appears to be ill, injured, or incapacitated by alcohol, narcotics, or similar agents, but

         not in immediate need of medical attention, must be given medical attention as soon as

         practical. A written record must be kept of the initial admission health inspection.” 22

         AAC 05.005. The Criminal Booking Screen appears to have been conducted at

         approximately 2256 hours on July 4, 2016.

    14. On or about July 4, 2016, Stephanie Gaiser spoke with Laurel Hunter by phone and learned

         that Laurel Hunter was not receiving her prescription medication(s). She asked Laurel

         Hunter to go to the medical unit.

    15. Upon information and belief, on July 5, 2016, at approximately 1:36 p.m., Laurel Hunter

         apparently put in a Request for Medical Care complaining of “withdrawals from my

         medicine” and asking to “please be put on detox protocol.”

    16. On or about July 5, 2016, sometime in the evening (before 8:00 p.m., approximately 6:30

         p.m.), Stephanie Gaiser visited Laurel Hunter at Anchorage Correctional Center and

         learned that Laurel Hunter was still not receiving her prescription medication(s). Laurel

         Hunter informed Stephanie that she had been in and out of the medical unit and told, in

         effect, that she had been in there too much. Stephanie observed that Laurel Hunter was

         very ill and suffering extraordinary pain and physical distress.         Laurel Hunter told

         Stephanie that she felt miserable. She was shaking, and she vomited multiple times during

         the visit. Stephanie spoke with Officer Mills, a male, and informed him of Laurel Hunter’s


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         very serious condition, the necessity of Ms. Hunter receiving her prescription

         medication(s), Laurel Hunter’s physical appearance (including shaking, vomiting, and

         other indicia of medical emergency), Laurel Hunter’s high blood pressure, and the dangers

         of Laurel Hunter experiencing prescription drug withdrawal. Stephanie Gaiser implored

         him to immediately address Laurel Hunter’s very serious condition. Officer Mills knew

         and/or should have known that he had a legal obligation to act immediately on such

         notification, including but not limited to, notifying other medical staff members to initiate

         first-aid, and/or contacting an on-call health care practitioner and/or contacting an

         emergency medical services to arrange for appropriate transport of Laurel Hunter to a

         hospital. Officer Mills told Ms. Gaiser words to the effect that the Anchorage Correctional

         Center takes inmate health issues seriously, and that they did not want inmates to die in the

         facility. He told her that he would be supervising the medical unit later that evening and

         that Laurel Hunter would receive care, including 24-hour supervision. Ms. Gaiser left the

         facility concerned about her mother’s health and well-being and anxious as whether her

         mother would receive the care she desperately needed. Ms. Gaiser feared that her mother

         would die.

    17. Upon information and belief, Officer Mills exhibited deliberate indifference to the health

         and well-being of Laurel Hunter by disregarding information that she was very ill and

         needed immediate medical attention and refusing to take immediate action to investigate

         and report Ms. Gaiser’s concerns to other medical staff and/or health care providers and/or

         supervisors, and assist Laurel Hunter as required by prison policies and procedures, and

         the U.S. Constitution. He deprived Laurel Hunter of her rights under the 4th, 5th, 8th and

         14th Amendments of the U.S. Constitution. Given the obvious physical distress Laurel


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         Hunter was suffering, she should have received medical attention promptly. Officer Mills’

         refusal to promptly investigate and report Laurel Hunter’s medical condition resulted in

         Laurel Hunter suffering further physical deterioration and ultimately death.

    18. Upon information and belief, Laurel Hunter was put on a detox protocol at approximately

         10:10 p.m. on July 5, 2016.

    19. DOC Policy No. 807.02 (VI)(B) provides that “Health care staff, other than a physician,

         dentist, psychiatrist, psychologist, optometrist, osteopath, podiatrist, physician assistant, or

         advanced nurse practitioner, shall perform health care treatment per written orders of

         licensed practitioners or per nursing protocols as approved by the Health Care

         Administrator and Medical Director of Inmate Health.”

    20. DOC Policy NO. 807.01 (III)(B) provides that “All clinical decisions regarding health care

         shall be made by a qualified licensed medical provider and not be countermanded by non-

         clinicians. All health care professionals shall have appropriate credentials and provide

         services consistent with the licensure, certification and registration requirements of the

         State of Alaska.”

    21. Upon information and belief, unknown person(s) directed that Laurel Hunter be transferred

         from the medical unit to the booking unit. Further upon information and belief, corrections

         officers at the booking unit lacked medical training and were not informed of Laurel

         Hunter’s medical condition and/or needs upon receiving her in their care.                 Upon

         information and belief, Laurel Hunter was transferred for the purpose of staging her

         transfer to Hiland Mountain Correctional Center.

    22. Upon information and belief, Nurse Caroline Bapi became the nurse treating and

         monitoring Laurel Hunter when Hunter was transferred to booking. Nurse Bapi exhibited


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         deliberate indifference to the health and well-being of Laurel Hunter by observing that

         Laurel Hunter was in physical distress and noting that she was continuing to vomit after

         she had been placed on the detox protocol. In response to Laurel Hunter’s obvious distress

         and worsening medical condition, she took no action other than to advise that Laurel Hunter

         drink water. Upon information and belief, although Nurse Bapi knew that Laurel Hunter

         was on a detox protocol, she did not follow the Drug Withdrawal Order Set and Medication

         Dispensing Chart, which requires that a “facility provider or on-call provider” be notified

         if an inmate experiences “nausea or vomiting despite treatment.” Further upon information

         and belief, although Laurel Hunter informed Nurse Bapi of stomach pain, Nurse Bapi did

         take responsive action or seek input from the “facility provider or on-call provider.”

    23. Upon information and belief, an on-duty officer called to Nurse Bapi while he was doing

         a check on Laurel Hunter and asked for Nurse Bapi to assist. Laurel Hunter had apparently

         reported continued stomach pain. Upon information and belief, Nurse Bapi dismissed the

         complaints of pain and directed that Laurel Hunter drink more water.

    24. Upon information and belief, Nurse Bapi did not monitor Laurel Hunter in accordance with

         her duties and obligations as to Laurel Hunter’s deteriorating condition.

    25. That is, upon information and belief, Ms. Hunter continued to vomit numerous times while

         she was a patient of Nurse Bapi, and her condition worsened. She began to squeeze her

         legs together in rapid fashion numerous times and continued to vomit. At approximately

         11:52 p.m. a corrections officer opened the door and talked with Laurel Hunter, but nothing

         was done to address her medical needs. Laurel Hunter began to roll back and forth and

         vomit. Another corrections officer came into her cell at 1:25 a.m. and gave Laurel Hunter

         fresh clothes. Laurel Hunter could not change her clothes because she had to vomit. Her


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         bouts of vomiting increased in frequency and she started to convulse. This continued until

         about 2:17 a.m. At that point, she stopped moving. At about 2:33 a.m. a corrections officer

         finally checked on Ms. Hunter through a window. The Anchorage Fire Department was

         called on scene and arrived at 2:41 a.m. Ms. Hunter was pronounced dead at 3:10 a.m.

    26. John/Jane Does 1-10 exhibited deliberate indifference to the health and well-being of

         Laurel Hunter. Upon information and belief, during the time Laurel Hunter was at the

         Anchorage Correctional Center, she did not receive her necessary medications, nor did she

         receive appropriate medical care or supervision although, upon information and belief,

         Laurel Hunter reported her medical condition(s) to prison officials repeatedly. She was

         finally evaluated by prison official(s) and/or medical staff after suffering for an extensive

         period of time. She was moved from a medical unit to a booking unit for the purpose of

         staging her transfer to another institution even though she would not have the medical care

         she needed at the booking unit. She was moved to a booking unit where she would be

         monitored by corrections officers who lacked the proper medical training and were not

         informed of Laurel Hunter’s medical condition.

    27. The failure and/or refusal of John/Jane Does 1-10 to assist Laurel Hunter under the

         circumstances, and as required by prison policies and procedures, and the U.S.

         Constitution, evidenced a deliberate indifference to the serious medical needs of Laurel

         Hunter and led to her substantial pain and suffering and tragic death, and deprived her of

         her rights under the 4th, 5th, 8th and 14th Amendments of the U.S. Constitution.

    28. In the early morning hours of July 6, 2016, Laurel Hunter died. She was transported to

         Alaska Regional Hospital. The Death Certificate states that she died at Alaska Regional

         Hospital.


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                                                  COUNT I

                                       42 U.S.C. § 1983 against Defendants

    29. The Plaintiff realleges and incorporates all preceding paragraphs of this Complaint and

         further alleges and complains as follows.

    30. The Eighth Amendment of the United States Constitution, applicable to the states through

         the Fourteenth Amendment’s Due Process Clause, forbids infliction of cruel and unusual

         punishment and imposes a duty on prison officials to provide adequate medical care to

         those it confines.

    31. Deliberate indifference to the serious medical needs of prisoners constitutes the

         unnecessary and wanton infliction, and constitutes violations of the 4th, 5th, 8th and 14th

         Amendments of the United States Constitution.

    32. The Defendants’ actions or omissions evidenced deliberate indifference to Laurel Hunter’s

         serious medical needs, and led to her tragic death. Such conduct violated Laurel Hunter’s

         rights under the Eighth Amendment to the United States Constitution.

    33. Officer Mills had clear knowledge and information that Laurel Hunter was suffering a

         medical crisis. His actions and/or omissions upon becoming aware of her serious medical

         condition resulted in Laurel Hunter continuing to suffer, her condition worsening, and her

         tragic death.

    34. Nurse Caroline Bapi had clear knowledge and information that Laurel Hunter needed

         monitoring as to the detox protocol and her serious medical condition. Further upon

         information and belief, she had duties and obligations to report to “facility” or “on-duty”

         provider(s) as to the worsening condition of Laurel Hunter (continued nausea and vomiting

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         despite treatment). She was also, by virtue of her medical training, obligated to properly

         monitor and examine and treat Laurel Hunter. She failed and refused to do so, despite her

         awareness that Laurel Hunter’s condition was in fact worsening, demonstrates deliberate

         indifference to Laurel Hunter’s health and safety.

    35. Laurel Hunter’s physical injuries and death were a foreseeable and direct result of the

         Defendants’ failure and refusal to provide her with appropriate medical monitoring and

         care.

                                            PRAYER FOR RELIEF

WHEREFORE, the Estate of Laurel Hunter prays for the following relief:

    1. Judgment with the exact amount to be established at the time of trial jointly and severally

         against all Defendants for compensatory damages;

    2. Judgment against each of the Defendants for punitive damages with the exact amount to

         be established at trial;

    3. Attorney’s fees, litigation expenses, cost, pre- and post-judgment interest as provided by

         law; and

    4. Such other and further relief as the Court deems just and proper.



                  RESPECTFULLY SUBMITTED this 17th day of October, 2018.

                                                      WEIDNER & ASSOCIATES, APC
                                                      Counsel for Plaintiffs

                                                      By: /s/ Lisa Rosano
                                                             Phillip Paul Weidner
                                                             Lisa Rosano




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